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                         IN THE UNITED STATES DISTRICT COURT
                      FOR THE EASTERN DISTRICT OF PENNSYLVANIA


UNITED STATES OF AMERICA                               :
                                                       :
                 v.                                    :
                                                       :       CRIM. NO. 18-193-1
DKYLE JAMAL BRIDGES                                    :
KRISTIAN JONES                                         :
ANTHONY JONES                                          :


  GOVERNMENT’S RESPONSE IN OPPOSITION TO DEFENDANT DKYLE JAMAL
     BRIDGES’ MOTION TO COMPEL GRAND JURY TRANSCRIPTS, AND
         OPPOSITION TO REQUEST FOR RELIEF UNDER FRANKS

       Defendant Dkyle Jamal Bridges’ Motion to Compel Grand Jury Transcripts (ECF No. 143),

like his previously filed Motion to Conduct Franks Hearing (ECF No. 121), is predicated on the

legally and factually erroneous contention that a change in a civilian witness’s account of events

long after indictment evinces government misconduct at the investigative stage and a concomitant

ground for pretrial relief. Binding case law, however, makes clear that Bridges is not entitled to

disclosure of the grand jury transcripts, to suppression of the evidence seized from his Taurus

pursuant to a federal search warrant, or even to an evidentiary hearing regarding that search warrant

affidavit, simply because of contradictory statements made by witnesses long after indictment.

Indeed, Bridges’ filings are a transparent attempt to litigate at the pretrial phase questions of victim

credibility arising out of the not-uncommon phenomenon of recantation by vulnerable sex

trafficking victims at the hands of their manipulative pimps. The statements on which Bridges

relies are indicative not of government misconduct, but of continued manipulation by the victims’

traffickers. Because Bridges has not met his burden for obtaining relief under well-established

Third Circuit and Supreme Court case law, his motions should be denied.

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                                        BACKGROUND

       As the discovery materials provided to the defense reflect, defendant Bridges led a

prostitution enterprise that trafficked numerous adult and minor females throughout southeastern

Pennsylvania and other states, over the course of several years, frequently employing violence,

threats, coercion, and manipulation to recruit and retain his victims.

       On November 15, 2016, Tinicum Township Police recovered minors N.G. and L.C. from

a motel where L.C. had just performed a commercial sex date with a customer arranged through

Backpage.com. Defendant Anthony Jones had rented the room, while Defendant Kristian Jones

was present in the room at the time law enforcement responded. N.G. and L.C. both provided

statements to law enforcement that same day. In an audio-recorded statement, L.C. reported, inter

alia, that Kristian Jones had assisted in her prostitution (including by collecting all the money she

earned), and that another male had brought her and N.G. to Tinicum where they met up with

Kristian Jones and she was prostituted. (Disco 23.) Similarly, N.G. reported that she and L.C.

had been driven by Kristian Jones’ male friend to the motel where L.C. was prostituted that day.

(Disco. 23-24.) Phones seized from the motel room (and subsequently searched pursuant to

consent and a search warrant) revealed, inter alia, messages among N.G., Kristian Jones, and

Bridges regarding prostitution. In a follow-up interview with N.G., on July 18, 2017, N.G.

confirmed that Bridges was the male who had driven her and L.C. to the motel in November 2016

for the purpose of prostitution, and confirmed that Bridges had forced her to engage in prostitution

prior to her November 2016 recovery. (Disco. 29.)

       On November 23, 2016, Newark (Delaware) Police, acting in an undercover capacity,

recovered minor B.T. from a motel where she was being offered for prostitution. In an audio-


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recorded statement that same day, B.T. reported, inter alia, that her “ex,” Dkyle Bridges, was a

“pimp”; that he was physically abusive toward her; and that she had assisted him in pimping other

females, but she would be unwilling to testify against him. (Disco. 65.)

       In June 2017, law enforcement with the FBI and Philadelphia Police Department spoke

with B.T.’s mother, who reported, inter alia, that B.T. was being trafficked by Bridges and that

Bridges had threatened B.T.’s family. (Disco. 78.)

       In July 2017, Philadelphia Police, acting in an undercover capacity, recovered B.T. from

another motel where she was being offered for prostitution; Bridges was in a vehicle in the parking

lot. In an interview with FBI the next day, B.T. confirmed, inter alia, that she was being pimped

by Bridges, that Bridges beat her, and that Bridges pimped and beat other women who worked for

him. (Disco. 17.)

       Throughout the eighteen-month investigation pre-indictment, law enforcement interviewed

additional witnesses and reviewed substantial documentary and physical evidence, including

digital evidence obtained from cell phones used by the participants in the sex trafficking enterprise,

which showed the extent of Bridges’ and the Joneses’ involvement.

       On May 10, 2018, a federal grand jury returned an indictment charging Bridges and

Kristian Jones with, inter alia, conspiracy to engage in sex trafficking as well as the actual sex

trafficking of victims N.G., L.C., and B.T. ECF No. 1. On November 1, 2018, a federal grand

jury returned a superseding indictment charging Bridges, Kristian Jones, and Anthony Jones with,

inter alia, conspiracy to engage in sex trafficking as well as the actual sex trafficking of N.G.,

L.C., and B.T. ECF No. 74.




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       On January 18, 2019, Bridges filed a Motion to Conduct Franks Hearing, contending that

there were “materially false statements . . . and omitted information” in the search warrant affidavit

sworn out by FBI Special Agent Nicholas Grill on July 13, 2017 (which sought to search the Taurus

that Bridges had been driving outside of B.T.’s July 12, 2017 commercial sex date). ECF No.

121 at 2. Problematically for the relief he sought, however, Bridges’ motion did not identify any

material false statements or information omitted by the affiant, Agent Grill. Rather, Bridges’

motion relied on an “Affidavit of B.T.” that B.T. swore out for the defense on October 3, 2018, as

well as purported audio and text messages between B.T. and her mother on July 27, 2018—all

created months after Bridges had been indicted, and of which the Government was unaware until

Bridges’ 2019 filing. ECF No. 121-2 (hereinafter “B.T.’s Post-Indictment Defense Affidavit”);

ECF No. 121-3 (hereinafter “B.T.’s Post-Indictment Text Messages”).

       In B.T.’s Post-Indictment Defense Affidavit, B.T. recanted her November 23, 2016, and

July 13, 2017, statements to law enforcement implicating Bridges, claiming—not only contrary to

those prior statements, but contrary to digital and other evidence—that since the time she was a

minor she had always prostituted herself, without any knowledge let alone assistance by Bridges.

In B.T.’s Post-Indictment Text Messages, B.T.’s mother reiterated that she legitimately believed

Bridges had been trafficking B.T. See, e.g., ECF No. 121-3 at 2 (“I thought you was in danger. . . .

I . . . thought he was holding you and making you prostitute. I thought he was like a pimp.”).

B.T. did not refute that belief, instead merely complaining that her mother “[a]ssumed” she was

being pimped by Bridges. Id. at 1.

       On February 1, 2019, Bridges filed a Motion for Disclosure of Grand Jury Transcripts,

suggesting that there was “prosecutorial misconduct” before the grand jury because of


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“contradictory statements” made by victims B.T. and L.C. ECF No. 143 at 7-9. In addition to

citing the above-mentioned post-indictment statements by B.T. and her mother, Bridges attached

an “Affidavit of L.C.” that L.C. swore out for the defense on October 12, 2018—months after the

indictment, and of which the Government was unaware until the 2019 filing. ECF No. 144

(hereinafter “L.C.’s Post-Indictment Defense Affidavit”). In L.C.’s Post-Indictment Defense

Affidavit, L.C. recanted her November 15, 2016 statements to law enforcement implicating

Bridges (and Jones), claiming—not only contrary to those prior statements, but contrary to digital

and other evidence—that as a minor she had prostituted herself, without any knowledge let alone

assistance by Bridges, Jones, or individuals other than N.G.

                                         ARGUMENT

I.     BINDING CASE LAW BARS THE RELIEF BRIDGES SEEKS WITH A FRANKS
       HEARING, BECAUSE HE HAS NOT SHOWN, AND CANNOT SHOW, ANY KNOWING
       OR RECKLESS FALSE STATEMENTS BY THE AFFIANT, AGENT GRILL

       Long-standing Supreme Court and Third Circuit precedent make clear that post–search

warrant developments, including recantations, do not entitle a defendant to an evidentiary Franks

hearing. Rather, a “presumption of validity” attaches to a search warrant affidavit, Franks v.

Delaware, 438 U.S. 154, 171 (1978), and “[t]o mandate an evidentiary hearing, the challenger’s

attack must be more than conclusory and must be supported by more than a mere desire to cross-

examine.” Id. “There must be allegations of deliberate falsehood or of reckless disregard for the

truth, and those allegations must be accompanied by an offer of proof.” Id. Put differently, the

defendant must make a “substantial preliminary showing that a false statement knowingly and

intentionally, or with reckless disregard for the truth, was included by the affiant in the warrant

affidavit” in order to advance to the hearing stage. Id. at 155-56; see also id. at 171 (explaining

that “[a]ffidavits or sworn or otherwise reliable statements of witnesses [attacking the affiant’s
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truthfulness] should be furnished, or their absence satisfactorily explained,” before a defendant

may obtain a hearing to pursue his claim).

          Critically for purposes of this case, “[t]he deliberate falsity or reckless disregard whose

impeachment is permitted [through a hearing] is only that of the affiant, not of any

nongovernmental informant.” Id. at 171 (emphasis added); see also Rugendorf v. United States,

376 U.S. 528, 533 (1964) (no Fourth Amendment issue when the “erroneous statements . . . were

not those of the affiant”); United States v. Brown, 3 F.3d 673, 671 (3d Cir. 1993) (reaffirming the

“well-established” rule that “a substantial showing of the informant’s untruthfulness is not

sufficient to warrant a Franks hearing”). Bridges, however, has not challenged Agent Grill’s

truthfulness in recounting what he learned in his investigation—including that B.T.’s mother (and

B.T.) made such allegations to law enforcement before the affidavit was submitted on July 13,

2017. Bridges simply challenges the underlying truth of the allegations of trafficking—an issue

that he may dispute at trial, but that is categorically not a ground for a Franks hearing or pretrial

relief.

          The Third Circuit’s decision in Brown is squarely on point. There, the affidavit stated that

a confidential source was in the defendant’s residence, had observed the defendant and “Rodger”

packaging cocaine for sale, and observed “Nelson and Shumey” provide heroin there. Brown, 3

F.3d at 676. Seeking a Franks hearing, the defendant offered his own affidavit denying that he

knew “Rodger” and that “Nelson and Shumey” were there; the defendant also offered a transcript

of a taped interview of “Shumey” who denied being in the house. Id. at 677. The Third Circuit

held that the defendant was not entitled to an evidentiary hearing challenging the search warrant,

explaining that “[e]ven if the events . . . never occurred as allegedly reported by the informant, that


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shows little or nothing about the affiant’s veracity, for it is at least as likely that the officer honestly,

or perhaps negligently, believed an untruthful informant as it is that the affiant himself was

untruthful. In fact, the officer’s veracity is more probable than the veracity of the informant since

the officer provided testimony under oath.”            Id. at 678.    Furthermore, the fact that “[n]o

information in the affidavit was based on independent police investigation of [the defendant]” did

not change the analysis. Id. at 676-78.1

        In sum, there was no reason for Agent Grill to disbelieve B.T.’s mother (or B.T.) when he

swore out the search warrant in July 2017, and the affidavit makes clear that Agent Grill was

relying on information provided by civilian witnesses in addition to law enforcement’s own

observations and investigation. Accordingly, precedent precludes Bridges from challenging the

search warrant at the pretrial stage; he may only litigate the truthfulness of the trafficking

allegations at trial.




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          See also, e.g., United States v. Webb, 499 F. App’x 210, 212 (3d Cir. 2012) (“Even if the
events at the bank did not occur as allegedly reported in the affidavit, that sheds little light on the
affiant’s veracity.”); United States v. Rivera, 524 F. App’x 821, 826 (3d Cir. 2013) (affirming
denial of Franks hearing where defendant relied only on conclusory allegations as to the veracity
of the information provided by the informant); United States v. Heilman, 377 F. App’x 157, 181
(3d Cir. 2010) (affirming denial of Franks hearing because “the only aerial surveillance occurred
after the last wiretap application was submitted. Therefore, the lack of information about these
forms of surveillance is not an omission.”).
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II.    BRIDGES FALLS FAR SHORT OF ESTABLISHING A “PARTICULARIZED NEED”
       FOR DISCLOSURE OF THE GRAND JURY TRANSCRIPTS—I.E., “A SHOWING OF A
       SUBSTANTIAL LIKELIHOOD OF GROSS OR PREJUDICIAL IRREGULARITIES IN
       THE CONDUCT OF THE GRAND JURY”—OUTWEIGHING THE PUBLIC INTEREST
       IN GRAND JURY SECRECY

       Bridges’ request for pretrial disclosure of the grand jury transcripts is similarly contrary to

long-established precedent. As the very case law cited by Bridges makes clear, “a presumption

of validity [is] afforded to the grand jury process.” United States v. Ismaili, 828 F.2d 153, 163

(3d Cir. 1987). “An indictment returned by a legally constituted and unbiased jury, . . . if valid

on its face, is enough to call for a trial of the charge on the merits. The Fifth Amendment requires

nothing more.” Id. Moreover, because “grand jury proceedings are accorded a presumption of

regularity and absent specific evidence of impropriety or irregularity disclosure is not warranted,”

United States v. Norris, No. 03-cr-632 (E.D. Pa. June 24, 2010) (ECF No. 88, at 1 n.1), a defendant

seeking disclosure bears the heavy “burden of showing a particularized need that ‘outweighs the

public interest in secrecy.’” Id. (quoting Douglas Oil Co. v. Petrol Stops Nw., 441 U.S. 211, 222,

289 (1979)). Bridges has not met that burden.

       As an initial matter, Bridges predicates his motion on mere guesswork as to who testified

before the grand jury and what their testimony may have been. See, e.g., ECF No. 143 at 8

(seemingly assuming that “B.T.’s . . . testimony [was] presented to the grand jury”). Recognizing

that “the proper functioning of our grand jury system depends upon the secrecy of grand jury

proceedings,” Douglas Oil, 441 U.S. at 218, the Government neither confirms nor denies who

testified in the grand jury, nor has it disclosed the substance of any testimony. Bridges is thus left

with mere speculation as to the information that was conveyed to the grand jury—and the case law

is clear that “mere speculation that such improprieties may have occurred will not suffice to

support that showing” needed for disclosure of transcripts. United States v. Budzanoski, 462 F.3d
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443, 454 (3d Cir. 1972); see, e.g., id. at 454-55 (accordingly affirming denial of motion for pretrial

discovery of the testimony of four grand jury witnesses); United States v. Young, No. 07-710-02,

2008 WL 163045, at *3 n.8 (E.D. Pa. Jan., 17, 2008) (denying request for grand jury materials,

noting that the defendant’s “speculation that some irregularity occurred during the grand jury

proceedings is insufficient to warrant disclosure”); United States v. Norris, No. 03-cr-632 (E.D.

Pa. June 24, 2010) (ECF No. 88, at 1-2 n.1) (“Defendant proffers only mere speculation that

improprieties may have occurred before the grand jury and fails to adduce specific evidence which

would demonstrate ‘gross or prejudicial irregularities’ that warrant disclosure. . . . Regarding

Brown’s guilty plea and recantation, Defendant merely speculates that the guilty plea may have

been used during the grand jury proceedings.”).

       Similarly deficient is Bridges’ concern that “hearsay” may have been presented to the grand

jury. ECF No. 143 at 8. As the cases that Bridges cites make clear, “[i]t is permissible for an

indictment to be based on hearsay evidence.” United States v. Wander, 601 F.2d 1251, 1260 (3d

Cir. 1979); see also Ismaili, 828 F.2d at 163-64 (rejecting defendant’s speculative argument that

“the fact of the report’s hearsay character was concealed from the grand jury”); cf. United States

v. Helstoski, 635 F.2d 200, 203 (3d Cir. 1980) (“[A] court will not look behind the face of an

indictment and invalidate it because the grand jury received inadequate or incompetent

evidence.”).

       Nor do inconsistent statements and recantations by a civilian witness long after return of

the indictment establish “gross or prejudicial irregularities in the conduct of the grand jury”

warranting disclosure.    “The cases are legion that courts look upon recantation with great

suspicion.” United States v. Williams, 70 F. App’x 632, 634 (3d Cir. 2004). In United States v.


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Parker, 58 F. App’x 886 (3d Cir. 2003), for example, the Third Circuit easily rejected the

defendant’s claim of “government misconduct” when a witness subsequently recanted his account

of the defendant’s involvement. Id. at 888. There, the defendant alleged that the witness’s

testimony was improperly presented when “the government ‘knew it was a lie.’” Id. The Third

Circuit disagreed, explaining that the defendant’s “allegations [we]re mere conjectures based on

[the witness’s] attempt [subsequently] to recant his prior statements identifying [the defendant] as

the [responsible party].” Id. It pointed out that the “recantation as to [the defendant’s] role [wa]s

plainly contradicted” by other evidence. Id. Moreover, the witness had “waivered because he

was afraid that [the defendant] would know he was the one” who had disclosed the defendant’s

involvement, “not because the government told him to lie.” Id.; see also id. (noting that “[o]ne

could conclude that any lies [the witness] told were his own,” not those of government agents).

This analysis holds true at the grand jury stage as much as at trial. See, e.g., Wander, 601 F.2d at

1260 (rejecting defendant’s contention that “the prosecutor had substantial reason to doubt the

credibility of the witness” and that thus there was an “abuse of the grand jury process”); Drisco v.

City of Elizabeth, No. 03-civ-397, 2010 WL 1253890, at *12 (D.N.J. Mar. 23, 2010) (“Evidence

that a witness recanted prior testimony normally need not be presented to the grand jury:

‘[R]ecantation testimony is generally considered exceedingly unreliable. . . . Partly because

recantations are often induced by duress or coercion, . . . the sincerity of a recantation is to be

viewed with extreme suspicion.’”) (citation omitted)).

       In sum, Bridges has not shown that the government acted in any way inappropriately during

the investigation and prosecution phases. To the contrary, the recent recantations by the minor

sex trafficking victims are consistent with the threats, violence, and manipulation he employed to


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recruit and retain the victims of his prostitution enterprise. He may raise his concerns with the

witnesses’ accounts of the underlying events at trial.2

                                         CONCLUSION

       For the foregoing reasons, the Court should deny the defendant’s motion to compel grand

jury transcripts and his request for relief under Franks.

                                                      Respectfully submitted,

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                                                      United States Attorney


                                                      s/ Jessica Urban
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Dated: February 12, 2019




       2
         Consistent with the Jencks Act, 18 U.S.C. § 3500, and Fed. R. Crim. P. 26.2, to the extent
a witness who testifies at trial previously testified in the grand jury, the Government will disclose
for potential use at trial the witness’s prior statements related to the subject matter of the trial
testimony. Pretrial disclosure as requested by Bridges is inappropriate.
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                               CERTIFICATE OF SERVICE

       I hereby certify that on February 12, 2019, I filed this document electronically using the

CM/ECF system and thereby caused a copy of the same to be served on all counsel of record.


                                            s/ Jessica Urban
                                            JESSICA URBAN
                                            Trial Attorney
                                            Child Exploitation & Obscenity Section
                                            U.S. Department of Justice




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